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                                  #:119966
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                                  #:119967
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                                  #:119969
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